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       1                    UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
       2                           MIAMI DIVISION
       3                 CASE NO. 08-20574-CR-LENARD/TURNOFF
           ____________________________
       4                                |         MIAMI, FLORIDA
           UNITED STATES OF AMERICA,    |
       5                                |
                          Plaintiff,    |         FEBRUARY 12, 2010
       6                                |
                  vs.                   |
       7                                |
           AEY, INCORPORATED, et al., |
       8                                |
                          Defendants. |
       9   ____________________________x
      10
      11                        TRANSCRIPT OF MOTIONS HEARING
                           BEFORE THE HONORABLE WILLIAM C. TURNOFF,
      12                        UNITED STATES MAGISTRATE JUDGE
      13   APPEARANCES:
      14   FOR THE GOVERNMENT:           ADAM SCHWARTZ, ESQ.
                                         JAMES A. WEINKLE, ESQ.
      15                                 ELOISA D. FERNANDEZ, ESQ.
                                         Assistant U.S. Attorneys
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                                         Miami, FL 33132        305.961.9000
      17
           FOR DEFENDANT MERRILL:        PETER STIRBA, ESQ.
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       1               THE COURT:    Nice to see you all.

       2               This is U.S.A. vs. AEY, Incorporated, et al., Case No.

       3   08-Cr-20574-Judge Lenard.

       4               Let's have appearances, please, starting with the

       5   United States.

       6               MR. SCHWARTZ:     Good afternoon, Your Honor.         On behalf

       7   of the United States, Adam Schwartz, Eloisa Fernandez and James

       8   Weinkle.

       9               MS. FERNANDEZ:     Good afternoon, Your Honor.

      10               MR. STIRBA:     And Peter Stirba, Your Honor, appearing

      11   on behalf of defendant, Ralph Merrill.

      12               THE COURT:    All right.       Folks, I can assure you we

      13   have looked at everything.         Okay?     Everything.    I just want

      14   that on the record.       We considered everything as best as we

      15   could.     So don't be misled by anything I say, any questions,

      16   any comments.     They may or may not reflect my thinking.            Okay?

      17   So I want you to know everything is being considered.

      18               Now, we have a number of matters here noticed and

      19   unnoticed.     So I'll go through them and see what we could do,

      20   because you have a status conference on this on Tuesday before

      21   Judge Lenard, correct?

      22               MR. SCHWARTZ:     Yes, Your Honor.

      23               THE COURT:    So bear that in mind that you're going in

      24   front of the trial court on Tuesday.            So I want to be as

      25   helpful as I can be, but I don't want to get in the way.               Are

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       1   you with me?

       2               MR. SCHWARTZ:     Yes, Your Honor.

       3               THE COURT:     And Tuesday is the next business day after

       4   today.   Monday is a holiday.

       5               Now, let's look at No. 1.        Defendant Ralph Merrill's

       6   motion for order to show cause.           That's docket entry 497.       Are

       7   you with me?

       8               MR. SCHWARTZ:     Yes, Your Honor.

       9               THE COURT:     And just by way of summary, motion to show

      10   cause, you seek the entry of an order directing the Department

      11   of State to appear and show cause why it should not be held in

      12   contempt for its willful refusal to release documents pursuant

      13   to a subpoena duces tecum, just by way of summary.               Okay?   Just

      14   for the record.

      15               Let me hear from the Government.          I'm going to ask

      16   everybody to get to the point.          Okay?    If you think any grave

      17   injustice is being done, we'll attend to it, but get to the

      18   point.   Like if a word will answer it, great; if a sentence can

      19   answer it, great.        Go ahead.

      20               MR. WEINKLE:     Your Honor, the --

      21               THE COURT:     You are, for the record?

      22               MR. WEINKLE:     I'm sorry.     James Weinkle, AUSA, on

      23   behalf of the Department of State and the United States.

      24               THE COURT:     Do you work for the DOJ or the Department

      25   of State?

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       1             MR. WEINKLE:       I work for DOJ.

       2             THE COURT:      What section?

       3             MR. WEINKLE:       In the Civil Division of the United

       4   States Attorney's Office in Miami.

       5             THE COURT:      So you're here, right?

       6             MR. WEINKLE:       Yes, sir, on behalf of the State

       7   Department.

       8             Your Honor, the State Department and Government have

       9   filed a response in opposition to the motion for order to show

      10   cause.   The response details why the documents at issue are not

      11   relevant, and we assert various privileges, including the

      12   investigatory file is privileged, which is also known as the

      13   law enforcement privilege, the deliberative process privilege,

      14   the concerted Privacy Act issues and concerns, as well as

      15   attorney-client privilege on certain documents, and grand jury

      16   issues on certain documents.

      17             But the bottom line, Your Honor, is that these

      18   documents that are requested from the OIG, the Office of the

      19   Investigator General in the State Department, who did a limited

      20   scope investigation, are just completely irrelevant to this

      21   suit.

      22             What that investigation related to was -- it had to do

      23   with a letter that was sent by Congressman Waxman to then

      24   Secretary of State Condoleezza Rice as to whether embassy

      25   employees in Albania had covered up information or not fully

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       1   disclosed information to the House Oversight Committee of which

       2   Congressman Waxman was on.

       3             That investigation revealed that there was absolutely

       4   no cover-up, no obstruction of justice, and the employees,

       5   including the Ambassador, were exonerated.            The documents

       6   that -- the Office of Inspector General documents are related

       7   completely to that investigation, and they are absolutely not

       8   material to the defendant's cause in this case, or the defense.

       9             The Department of State invoked various issues,

      10   including its 2(E) regulation, that the defendant had to comply

      11   with.   It's the Department's position that those issues still

      12   have not been -- that the defendant has not complied with the

      13   Department's 2(E) regulations by showing the relevancy and

      14   materiality of these particular documents.

      15             That is it in a nutshell, Your Honor.

      16             THE COURT:     What, if anything, in connection with this

      17   motion has been produced, whether under seal or other privilege

      18   or --

      19             MR. WEINKLE:      Your Honor, there are a number of

      20   documents within the Office of Inspector General's documents

      21   that have been produced, and we've submitted under seal a log

      22   of the entire universe of documents which we have provided that

      23   confidential log to the defendant.          Among the documents are the

      24   reports --

      25             THE COURT:     Let me stop you there.        So with respect to

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       1   all of the documents in issue, and notwithstanding all of your

       2   objections, you filed a log that addresses each of the

       3   documents?

       4               MR. WEINKLE:     Exactly, Your Honor.

       5               THE COURT:     How is that identified?

       6               MR. WEINKLE:     By Bates number, Your Honor, and we've

       7   identified the creator of the document, we've identified the

       8   privilege, we have identified Privacy Act considerations.             We

       9   have also noted in a note section what documents have been

      10   produced.

      11               THE COURT:     For the defendant?

      12               MR. WEINKLE:     And it's been provided to the defendant.

      13               THE COURT:     The privilege log, and that has been filed

      14   under seal, correct?

      15               MR. WEINKLE:     Yes, Your Honor.

      16               THE COURT:     The documents themselves, where are they?

      17   Have they been filed under seal?

      18               MR. WEINKLE:     The documents have not been filed under

      19   seal.

      20               THE COURT:     You have them all?

      21               MR. WEINKLE:     I do, Your Honor.

      22               THE COURT:     And I previously ordered, I'm not sure

      23   whether I did, because there have been so many motions here,

      24   but I'm making it clear now, and this supersedes any other

      25   order that relates to these matters with respect to all of

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       1   these objected to documents.         You are to preserve them intact,

       2   unredacted.     The Government has preserved them, to keep custody

       3   and control of them, unredacted; and if they're not going to be

       4   filed, even under seal, but you are to keep them.               You follow

       5   me?

       6             MR. WEINKLE:       Yes, Your Honor.

       7             THE COURT:      If the Court wants to see them, whether

       8   it's Judge Lenard, the 11th Circuit, whether Judge Lenard wants

       9   me.   Do you follow what I'm saying?

      10             MR. WEINKLE:       Yes, Your Honor.

      11             THE COURT:      So the state of the record is that you

      12   have raised all of these objection to production, and

      13   notwithstanding that, you filed a sealed log setting forth your

      14   objections.     I'm trying to make a record here, too.            And you

      15   have all of the documents in question unredacted that would be

      16   available upon court order or for production?

      17             MR. WEINKLE:       Correct, Your Honor.       I just want to

      18   clarify one aspect of the Court's directive, and that is I have

      19   them as the Office of Inspector General has them.               Some of

      20   those documents within, that the Office of Inspector General

      21   has were already redacted by the time the office got them.                  So

      22   I have them.

      23             THE COURT:      Let me stop there.

      24             MR. WEINKLE:       Yes.

      25             THE COURT:      Before the Office of Inspector General of

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       1   the State Department got them?

       2             MR. WEINKLE:     Yes, Your Honor.

       3             THE COURT:     Who did the redacting?

       4             MR. WEINKLE:     That was done, from my understanding, by

       5   the intelligence community.

       6             THE COURT:     Okay.   But it's understood whatever you

       7   have, whatever you received, and you've explained its status,

       8   that's to be preserved.      You understand that?

       9             MR. WEINKLE:     Correct, Your Honor.

      10             And then I also want to say one other thing with

      11   respect to redaction.      There are a number of documents --

      12             THE COURT:     Counsel for the defense, the intelligence

      13   community, I'm not a member of that club, but I think I

      14   understand what you're saying.

      15             MR. STIRBA:     Oh, I wouldn't demean yourself.           You

      16   actually are.

      17             MR. WEINKLE:     Your Honor, there are a small number of

      18   documents which we've noted on the privilege log where personal

      19   information such as phone numbers and social security numbers

      20   were redacted by the Office of Inspector General.

      21             THE COURT:     Is that all a part of -- I'm sorry.              After

      22   the Inspector General got the redacted stuff, they went and

      23   redacted phone numbers and social security numbers, correct?

      24             MR. WEINKLE:     Correct, Your Honor.

      25             THE COURT:     And that's what you have, right?

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       1             MR. WEINKLE:     Correct, Your Honor.

       2             Your Honor, that is it in a nutshell.           I'll be glad to

       3   reply to any particular issues.        Thank you, Your Honor.

       4             THE COURT:     You've hit it right on the nose, and I

       5   wanted to put this on the record.

       6             Counsel for defendant, I will hear from you, but I

       7   will tell you, having reviewed everything -- by the way, you're

       8   just a superb lawyer on behalf of your client.            But I am

       9   prepared to deny this motion.        I mean, the show cause.         They

      10   have just shown cause.

      11             But the actual relief that you're requesting, I am

      12   prepared to deny it.      I think it's an easy call.         I think for a

      13   variety of reasons set forth by the Government which I agree

      14   with, but I'm just telling you at the start so then you can

      15   address that.

      16             It obviously is, I've ordered those documents

      17   preserved, and no further redactions preserved, because we're

      18   going to get to this point later about the in camera business.

      19             But right now, basically, my impression is that you

      20   are just -- you do everything you can, and you should for your

      21   client, but this is beyond a fishing expedition.             This is like

      22   the longest reel I've seen.

      23             I do not see how you've met your burden of proof with

      24   respect to actually getting, having access, reviewing the stuff

      25   that's at issue.     I think the best that I could do is that I

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        1   order that it's preserved, there's access to it, that Judge

        2   Lenard can conclude that you should see it or that she should

        3   see it.   The 11th Circuit may conclude that if Judge Lenard

        4   agrees with me, or, remember, she's at a different stage.

        5   She's at the trial stage.       But it's there.

        6             And I must tell you, Counsel, because I've been around

        7   a long time and I have had cases like this, much more

        8   complicated and more sensitive, but it's rare that you're

        9   getting this much on this kind of -- and it's going too far.

      10    So I just wanted to put things in perspective.

      11              You have prevailed and you have gotten things that a

      12    normal defense attorney wouldn't take the time to do or try.

      13    And I would take up a lot of time looking at this, but that is

      14    my thinking.     So I don't want you to think that I have not

      15    considered all of your arguments.

      16              And I was aware of the Government's position before

      17    they stood up.     I just wanted a clear statement on the record

      18    of what the state of the record is.

      19              With that, Counsel.      Spell out the motion, so that's

      20    what I'm saying --

      21              MR. STIRBA:    Thank you, Judge.       I don't want to

      22    belabor this.     I need to make this record.

      23              First of all, it's a 17(C) subpoena duces tecum.           We

      24    felt we met the standards in our brief under U.S. vs. Nixon as

      25    to relevancy, admissibility and specificity.            We are limiting

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        1   our request, if I may, to actually, now that we have a

        2   privilege log, to just OIG reports as opposed to witness

        3   interviews and other material contained in that privilege log

        4   which we think are clearly admissible as business records under

        5   803(6).

        6             Moreover, Judge, the investigation, if I understand,

        7   there's a footnote that the Government provided in one of the

        8   matters that you're going to address, which is a motion to

        9   compel, where they describe this particular investigation as

      10    focusing narrowly on what was represented to Congress, to

      11    Waxman's committee.

      12              Quite frankly, Judge, there is a very specific request

      13    about interaction that the embassy had with AEY, which actually

      14    addresses a meeting or a series of meetings that took place in

      15    May of 2007.

      16              The documents which the Government has provided us, at

      17    least to this point, show that the representation made to

      18    Congress in an official document signed off by Ambassador

      19    Withers characterizing the meeting that took place, or the

      20    series of meetings that took place with representatives of AEY

      21    and representatives of the embassy was false; that is, it was

      22    misdescribed and not correct based upon the embassy's own

      23    representations in materials provided to the Government.

      24              That's why we believe it's entirely relevant that we

      25    have the information about what the OIG determined relative to

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        1   that precise question that was asked Congress, the precise

        2   information provided by these embassy employees that goes, I

        3   think, to a very critical meeting that occurred with one of the

        4   now co-defendants who has pled, and a discussion about the

        5   contract and specifically the company that had the contract

        6   with the Government.

        7             So it is on that basis that we issued the subpoena,

        8   and I think that's the record that I need to make, Judge.

        9             THE COURT:    You made an excellent record and also for

      10    the Court, and I'll say, this is just to repeat the obvious, it

      11    does not need to be said, the Government has made certain

      12    representations as officers of the court and as representatives

      13    of the United States.      That's on the record.

      14              The Government is also aware of its obligations under

      15    case law, statute and rule with respect to what should be

      16    disclosed to the defense.       Napue, Giglio, any other rule,

      17    relevance or fairness, credibility, guilt or innocence, so

      18    forth and so on.

      19              And consistent with that you have made in writing and

      20    here at the Bar of the Court the representations that you have,

      21    that you have not failed to turn over anything that's required

      22    by the case law, the rules, consistent, whether requested by

      23    the defendant or not.

      24              Government, would that be a correct statement?

      25              MR. SCHWARTZ:     Yes, Your Honor.

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        1             THE COURT:     So, for the reasons stated in open court,

        2   I am -- all this is going to be reduced to writing, folks, but

        3   I want to let you know what my order is going to be before you

        4   get before Judge Lenard.

        5             By the way, everything I do, one way or the other, I'm

        6   not encouraging you to do it and it's not a free ride.               But you

        7   could appeal me, both sides, to Judge Lenard.             You follow me?

        8   Yeah, but I'm not telling you to do it, and like I say it's not

        9   a free ride, but if you're aggrieved, you can come along, it's

      10    important, you can take it up on appeal to Judge Lenard under

      11    the rules.    Okay?    I'm doing the best I can at my low level.

      12              But your motion is docket entry 497, is denied

      13    consistent with the instructions that I've given in open court

      14    to the Government.

      15              Now, the next thing is non-party United States,

      16    Department of State's motion for leave to file document under

      17    seal, document 556.      I guess there's no reason why I can't

      18    grant that, right?

      19              MR. WEINKLE:      I would hope you would grant that.

      20              THE COURT:     Okay.    It's granted.

      21              One of the questions that we have here is, this is

      22    docket entry 556.      Is there anything else that was actually

      23    ruled upon or not?

      24              Government, and I don't want to take a lot of time if

      25    you don't know, but this record is confusing because there's so

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        1   many sealed documents.        And we know that this motion is docket

        2   entry 556, the non-party motion that you can file document

        3   under seal.     But the same day that that was filed, we have a

        4   docket entry 559, also previously docket entry 554, 555, 558,

        5   565.

        6               Here's what I'm going to do, folks, to save time.

        7   Okay?     I have just ruled on the unopposed motion, docket entry

        8   556.     I want you all to stay here when I leave and see if we

        9   can clear up any confusion concerning 554, 556, 558 and 565.

      10    Okay?     You created the problem, you help solve it.

      11                The problem I have is that, although Patty is here who

      12    is a very experienced deputy, my regular deputy is not here.

      13    But Patty will do the best she can.           Because I think this may

      14    have come up before, I'm not sure, Patty.             That's why I'm

      15    saying.     But she has access to our computer filing system.

      16    You'll stay here, too.

      17                So, in other words, if there's anything that you could

      18    agree that is a ministerial matter I could close out, I will do

      19    it.     Do you follow me?

      20                MR. STIRBA:     Absolutely, Judge.

      21                THE COURT:    I'm trying to be of help to everybody

      22    here.

      23                Now we move on to No. 3.        Government non-party

      24    defendant, Department of State's motion to strike first

      25    paragraph of Section 1 of Merrill's reply, docket entry 584.

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        1              MR. WEINKLE:      Your Honor, that's now moot by the

        2   Court's ruling.

        3              THE COURT:     Yes, I was going to deem that silly.               That

        4   was going to be my ruling.         But I can deem it moot.        I

        5   understood that.      It would be just like strike a response.

        6              MR. WEINKLE:      One paragraph.

        7              THE COURT:     Okay.    So I can deem that moot.           That

        8   would be pleasant on everybody.

        9              MR. WEINKLE:      I think that is correct, Your Honor.

      10               THE COURT:     Okay.    Docket entry -- that was 596.

      11               It's a shame, though, because we get our own key

      12    number in the West system if they use key numbers.               Where Judge

      13    King's ruling on the motion is silly.            Not granted or denied or

      14    whatever, just silly.        So that would be moot.

      15               By the way, I'm being facetious.           There may be more to

      16    it than I've seen.       Okay?

      17               Now, the fourth matter.        Defendant Ralph Merrill's

      18    motion to compel production of reports of interviews, docket

      19    entry 501.

      20               Counsel, no surprise.        I will tell you that I am

      21    prepared to deny that for a variety of reasons that are of

      22    record, but I will let you make your record and persuade me

      23    otherwise if you can do it without wasting time.

      24               MR. STIRBA:     Well, I'm surprised you denied it, quite

      25    frankly.     I mean, these are not Jencks Act materials.               There

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        1   were 19 employees that we believe the Government didn't even

        2   say they have interviewed of AEY, the very company that had the

        3   contract with the Government.          They're calling Packouz, they're

        4   calling Diveroli, they're calling some other people from the

        5   company.

        6               THE COURT:    Why would they have to produce interviews

        7   that they did?

        8               MR. STIRBA:    Well, it's called the standing order.

        9   It's called material and relevant to the preparation of the

      10    defense.     That's what is required.        They produced every other

      11    interview.     They produced all kinds of other things.               It seems

      12    to me these are much more relevant, quite frankly, much more

      13    material to our defense than anything else that has been

      14    produced of the million-and-a-half documents that have been

      15    produced.     I mean, these are the employees of AEY.            These are

      16    the people that saw Diveroli, the star witness --

      17                THE COURT:    I don't want to waste time, but according

      18    to your argument when they're doing an investigation, everybody

      19    that they interview, they have to turn over everybody that they

      20    talked to.     Why can't you interview them?          And if these people

      21    are not going to testify, why do they have to turn it over?

      22                MR. STIRBA:    Because we have to be favorable to you,

      23    through credibility, guilt or innocence and things like that,

      24    they have to or we'll get reversed and I'll be sanctioned.

      25                Judge, there's a standing order of discovery in this

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        1   case.    That's what we're relying on.        And it does seem to me

        2   clearly that these kinds of interviews of AEY employees would

        3   be relevant and material to the preparation of our defense when

        4   the Government is calling key people from AEY as their key

        5   witnesses.    I don't know what's in these interviews.

        6              THE COURT:    So the record is clear, the ones that

        7   they're calling, you will get to see their statements.               You

        8   have a right.     That's obvious.

        9              MR. STIRBA:     Well, first of all, I don't know that

      10    it's obvious.     We have --

      11               THE COURT:    You have the material, aside from

      12    everything else, right?

      13               MR. STIRBA:     We have them.

      14               THE COURT:    So now you're saying the ones that they

      15    interviewed that you haven't seen their interview statements,

      16    right?

      17               MR. STIRBA:     That's right.

      18               THE COURT:    And you say the standing discovery order

      19    requires them to turn over those interviews, right?

      20               MR. STIRBA:     I do.

      21               THE COURT:    Stop.     Let me get a quick response from

      22    the Government.

      23               MR. SCHWARTZ:     A quick response?

      24               THE COURT:    Until you're done.

      25               MR. STIRBA:     And that's just one aspect.

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        1             MR. SCHWARTZ:     For this first part, Your Honor, these

        2   individuals, it's not Rule 16(A)2 says these reports unless

        3   they're material, meaning they would be exculpatory in any way

        4   or change the tide or quantum of evidence.

        5             THE COURT:    Get back to me again.        I want you to be

        6   brief, but I don't want you to be truncated.

        7             MR. SCHWARTZ:     Right.

        8             THE COURT:    He says the standing discovery order says

        9   that you're to turn over all interviews, statements of anybody

      10    you interviewed.

      11              MR. SCHWARTZ:     It doesn't, Your Honor.

      12              THE COURT:    What does the discovery order say about

      13    that?

      14              MR. SCHWARTZ:     It says we have to comply with Rule 16

      15    and turn over all books, items, and likewise I've quoted, just

      16    to comply with Rule 16.      And I will turn Your Honor to Rule

      17    16(A)2, which says information not subject to disclosure, which

      18    says with the exception of Rule 16(A)1, this rule does not

      19    authorize the discovery or inspection of reports, memoranda or

      20    other internal Government documents made by an attorney for the

      21    Government or other Government agent in connection with

      22    investigating or prosecuting this case.

      23              And more importantly, Your Honor, as a practical

      24    matter, I think the defense has claimed in their reply that we

      25    have 19 interview memorandums.        There's only two that haven't

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        1   been produced.    One of the individuals, based upon their

        2   declaration that they filed in their motion, they've spoken to.

        3             And the other one, Your Honor, we have both for your

        4   review, has no exculpatory information.

        5             THE COURT:    So you're saying for the record, and I

        6   know you're obviously saying it because you just said it.

        7             MR. SCHWARTZ:     Right.

        8             THE COURT:    But of all the witnesses you talk about,

        9   there's only two statements that you haven't turned over.             One

      10    of them is exculpatory and that otherwise you're not going to

      11    use the witness, and there's nothing that otherwise would

      12    require you to turn it over, correct?

      13              MR. SCHWARTZ:     To clarify here.       Right.    There aren't

      14    interview reports for all those 19 people.

      15              THE COURT:    Right.

      16              MR. SCHWARTZ:     We haven't met with all those 19

      17    people.   Not all of them have been created.          But, Your Honor,

      18    even more fundamental is we just need to put it on the record

      19    to make it clear what does defense have, what have we turned

      20    over.

      21              THE COURT:    Well, let me stop you there.          I know what

      22    you're doing.    So what you're saying you haven't interviewed

      23    all the people you said you have.         The ones that you have

      24    interviewed you turned over all those statements with the

      25    exception of two, correct?

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        1             MR. SCHWARTZ:     Correct.     There's some people we have

        2   not interviewed and taken notes from but haven't -- found it

        3   either deemed not worthy enough to even do an ROI, because it

        4   was useless information, or whatever --

        5             THE COURT:    Okay.      So you're down to the two witnesses

        6   of which you have statements, right?

        7             MR. SCHWARTZ:     Correct.

        8             THE COURT:    That you haven't turned over, right?

        9             MR. SCHWARTZ:     Correct.

      10              THE COURT:    And the case of -- the first one is

      11    nothing that you're required by case law or rule to turn over,

      12    and you're not going to call that person as a witness, right?

      13              MR. SCHWARTZ:     Correct, Your Honor.

      14              THE COURT:    And the second person --

      15              MR. SCHWARTZ:     Same issue, Your Honor.

      16              THE COURT:    Okay.      Not required by Giglio, Napue, the

      17    rules, case law, for any good reason, right?

      18              MR. SCHWARTZ:     Correct, Your Honor.

      19              THE COURT:    Two people that you're not going to use

      20    that had nothing exculpatory?

      21              MR. SCHWARTZ:     Correct.

      22              THE COURT:    You follow me?

      23              MR. SCHWARTZ:     Yes.

      24              THE COURT:    And is there any reason you can't name

      25    them or not?

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        1              MR. SCHWARTZ:      We can name them, Your Honor.

        2              THE COURT:     What are their names?

        3              MR. SCHWARTZ:      Abby Kruel and Joseph Wachtel.

        4              THE COURT:     Are they available to the defense to

        5   interview?

        6              MR. SCHWARTZ:      The defense has spoken to Abigail

        7   Kruel.

        8              THE COURT:     Right.

        9              MR. SCHWARTZ:      Based upon the declaration, I believe

      10    they said in their motion that Joseph Wachtel refuses to speak

      11    with them, but just to let the Court know, we've produced over

      12    44,000 pages of Joseph Wachtel's e-mails at AEY.               So to learn

      13    the day-to-day operations, I think they have a clear record of

      14    what it is.     And, of course, they have the subpoena power to

      15    call him as a witness.

      16               THE COURT:     Counsel?

      17               MR. STIRBA:     Wachtel, I believe, has gotten a Kastigar

      18    letter.    And he is, once again, potentially material to our

      19    defense as the operations of AEY.

      20               Abby Kruel, as I understand it, had a relationship

      21    with Mr. Diveroli, and I think knows him quite well.                  And

      22    Mr. Diveroli, remember, as Your Honor knows, is the star

      23    witness.     And impeachment issues are going to come up,

      24    obviously, with him.       And it seems to me that that would also

      25    be relevant and important for us to know.

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        1             Now, if the Government is saying, hey, there's no

        2   impeachment evidence in the interview, there's no Giglio in

        3   there, well, that's fine.         If they want to say that, that's

        4   fine.   But I think that, though, the relationship that Kruel

        5   has with Diveroli and the fact that Wachtel has been given a

        6   Kastigar letter, it seems to me would be material and

        7   indicative that we should have it.

        8             THE COURT:      Thank you, Counsel.

        9             This motion is denied.         Defendant Ralph Merrill's

      10    motion to compel production of reports of interviews, docket

      11    501, it is denied.

      12              The fifth one is --

      13              MR. STIRBA:      Judge, there are more parts to this.

      14    There are about three other things that need to be addressed in

      15    our motion.

      16              THE COURT:      I'm not sure I agree or understand you,

      17    but let's get started.

      18              MR. STIRBA:      Sure, Judge.      We filed a motion to compel

      19    various reports.      AEY employees, one category.          You've ruled on

      20    that.   Next one is Major --

      21              THE COURT:      I'm sorry.     I did cut you off.       I

      22    apologize.

      23              MR. STIRBA:      Major Harrison.       He was interviewed.    We

      24    have no report from him.        I don't know whether one exists, but

      25    Major Harrison is a gentleman that perhaps will show that the

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        1   Government is prosecuting Mr. Merrill for a crime that did not

        2   occur.   We think that obviously it's essentially material to

        3   the defense because he was in the embassy in the beginning of

        4   all this, was working for the Department of Defense, worked in

        5   the Albanian Ministry of Defense, was well involved with the

        6   people from Mako [phonetic] who sold the ammunition to AEY, and

        7   we just don't have any report of an interview of Harrison which

        8   he said occurred, and I believe it was back in 2008.                  So that's

        9   another piece of this motion.

      10              THE COURT:      Continue your entire argument as to

      11    everything.

      12              MR. STIRBA:      Okay.    Then we also filed for an

      13    interview summary of Ambassador Withers, who is the Albanian

      14    ambassador during the relevant time period.             I think he still

      15    is.   He was interviewed, I think the Government concedes his

      16    interview.     There is a summary of his interview.

      17              And this, once again, goes to the heart of whether or

      18    not there actually was any concealment, whether there was any

      19    fraud, whether there was any crime, whether there was anything

      20    that occurred here for which now Mr. Merrill is being

      21    prosecuted.     And he was the ambassador in Albania.

      22              We have already received sufficient information from

      23    the Government in discovery.         Clearly, there were embassy

      24    people below Ambassador Withers that knew a lot about the

      25    Chinese ammunition, knew about the repackaging at the airport,

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        1   made representations to Diveroli and others about the propriety

        2   of doing that.

        3             And it also seems clear that they would have

        4   communicated, I guess, with their boss, Ambassador Withers.            He

        5   was interviewed, and obviously was interviewed because there

        6   was some concern expressed by the Waxman committee about a

        7   meeting that took place on November 19th which, once again, we

        8   have a witness who's prepared to testify what happened at that

        9   the meeting and that there was a concealment, at least from a

      10    New York Times reporter, of the repackaging of Chinese

      11    ammunition at the airport.         Moreover, there was a broad-based

      12    discussion about AEY, the contract, the contract for Chinese

      13    ammunition.

      14              I mean, I could go on and on and on, and I would be

      15    happy to, but I don't think I have to.            I mean, I think that's

      16    the reason why we need this particular interview summary

      17    because Withers, he hasn't talked to us, won't talk to us,

      18    won't even talk to Congress.

      19              And as I have indicated, a document was submitted to

      20    Congress under his auspices which clearly does not reflect, at

      21    least given what the Government has provided, accurate

      22    statement about a particular meeting with embassy personnel in

      23    May of 2007 before any Chinese ammo was shipped and was

      24    misrepresented to Congress.

      25              And if you want to know what the misrepresentation

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        1   was, Judge, I'll tell you it was because Mr. Diveroli was over

        2   complaining about the fact that the Albanian Government was

        3   holding him up or otherwise asking for illicit payments or

        4   kickbacks relative to this contract and the operation of this

        5   contract, and that was not communicated to Congress.                And I

        6   don't think it's too difficult to understand perhaps why that

        7   was not communicated to Congress.         But that has other

        8   implications which are adverse to the embassy.

        9             So these are the facts as I know them.           I don't know

      10    what Withers has said.      Obviously, I don't know what is in that

      11    302.   But, once again, it goes to the precise question of

      12    knowledge by the Government, acquiescence to the purchase of

      13    the Chinese ammo.    It goes to discussions and representations

      14    about the legitimacy of supplying this kind of ammunition

      15    pursuant to this contract.       And I could go on and on and on.

      16              But I think that's the relevance of Withers.

      17              Now, the Government has made, I think, a very

      18    appropriate offer.     They have said that, yes, there's an

      19    interview summary.     They'd be happy to present it to Your Honor

      20    for review in camera.      And, quite frankly, I mean, if that's

      21    something that is a fall-back position or a middle ground, we

      22    certainly have no objection to it.

      23              Finally, Your Honor, there is an interview summary

      24    that has been prepared of a Major Sergeant Harless, and it's

      25    five or six pages.     And then there's questions are asked this

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        1   Major about Mako.      Mako is the state-run arms company in

        2   Albania that sold through a middleman the munitions, which was

        3   only partially this ammo, Judge.         There are all types of

        4   munitions.    But, essentially, the ammunition which is relevant

        5   to the indictment, through a middleman to AEY.

        6             When Harless is asked in the interview about Mako, the

        7   whole page is redacted.       And we believe that that is also

        8   relevant and material to our defense, and we don't think that

        9   redaction is appropriate, and there are questions directly

      10    going to the heart of the company; that is, the Albanian

      11    state-run company that sold this ammunition through a broker to

      12    AEY which had the contract with the Government.

      13              So I'd be happy to answer any questions you have, but

      14    that is the argument.

      15              THE COURT:     Thank you, Counsel.

      16              This motion is denied consistent with the reasoning

      17    that I stated on the record previously, and consistent with the

      18    admonition that I have given -- unnecessarily, I'm sure, but

      19    nevertheless on the record -- to the Government that they have

      20    a continuing obligation to disclose materials consistent with

      21    the applicable case law and rules.

      22              And I'll add something else that's unnecessary,

      23    because I don't want to reward somebody for pushing you beyond

      24    where you should be pushed, which I respect.             You follow me?   I

      25    don't want to encourage that, but consistent with all that, you

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        1   are free, and I would advise you, this is dicta, that if the

        2   stuff that there's no reason not to disclose it even though

        3   it's not required, you follow me, then you should all decide to

        4   disclose it.    But I understand it's very difficult because they

        5   are intelligence matters stuff.

        6              But nothing that I am doing should indicate to you

        7   that you shouldn't comply with what's required, anyway.

        8              And, secondly, as a practical matter, if there's stuff

        9   that, you know, there's no security reason for not, or other

      10    reason, you should disclose.

      11               So don't misunderstand what I'm doing.           Do you follow

      12    me?

      13               MR. SCHWARTZ:     Yes, Your Honor.

      14               THE COURT:     Okay.   That is my ruling.

      15               Docket entry 5, defendant Ralph Merrill's motion to

      16    review document in camera to determine relevance.              This

      17    pertains to the stuff that we previously discussed, correct?

      18               MR. STIRBA:     This is the notes of Major Harrison which

      19    the Government has agreed to have you look at the redacted

      20    portion.

      21               THE COURT:     Okay.   I'm going to deny that motion

      22    without prejudice.       And I'll tell you what my thinking is on

      23    that.

      24               The documents exist, correct?         They will be preserved,

      25    correct?

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        1             MS. FERNANDEZ:       Yes, Your Honor.

        2             MR. SCHWARTZ:       Yes, Your Honor.

        3             THE COURT:      The Government has represented that they

        4   are not required to turn these documents over, correct?

        5             MR. SCHWARTZ:       Yes.

        6             THE COURT:      But everybody has agreed to let me look at

        7   them.   Thank you for the honor.         But I say to you that as long

        8   as they're preserved, and I accept both the substance of the

        9   Government's substantive representations concerning what these

      10    documents are and what their legal significance is with respect

      11    to the applicable rules, then I will accept that.

      12              But I'm just preserving the record by ordering the

      13    Government to maintain these records.            And my looking at them,

      14    I think at this stage certainly is unnecessary, be a waste of

      15    time and of limited value, because these may be things that

      16    could only be truly understood in the context of a trial.                   I

      17    don't know.

      18              But what I want to do is I'm going to order them

      19    preserved, but I'm not going to do any kind of review, but that

      20    doesn't mean it can't happen in the future.             It can be done by

      21    Judge Lenard if she thinks it's necessary; and if she doesn't

      22    think it's necessary, the 11th Circuit could disagree.                The

      23    records are there.       Or she could just send it back to me, and

      24    say, okay, Bill, I want you to look at these, and I'll do the

      25    best I can.     You follow me?

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        1             I appreciate that you agreed to it, and that's of

        2   record.   But I think it's unnecessary and inappropriate.             And

        3   one of the reasons is, or the least important, because there is

        4   scarce judicial resources looking at this stuff.             But that's

        5   the least important grounds for my ruling.

        6             But I commend you all for agreeing to allow me to

        7   review it in camera.

        8             So that motion is denied, docket entry 542.

        9             The next one, the sixth matter we'll cover is

      10    defendant Ralph Merrill's motion to seal Exhibit A to defendant

      11    Ralph Merrill's motion to review document in camera to

      12    determine relevance.     Docket entry 545.

      13              Any reason I can't grant that, Government?

      14              MS. FERNANDEZ:     No, Your Honor.

      15              THE COURT:    Okay.    Obviously, it's your motion.

      16              545 is granted.

      17              MR. STIRBA:    Yes.

      18              THE COURT:    The seventh matter is Government's motion

      19    to seal Exhibit 1 to Government's response to defendant Ralph

      20    Merrill's motion to review document in camera.

      21              Well, I'm a high school graduate, I'm having trouble

      22    following this.    So I'm going to read that again.           Okay?

      23              The Government's motion to seal Exhibit 1 to

      24    Government's response, which is docket 588, to defendant Ralph

      25    Merrill's motion to review document in camera to determine

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        1   relevance.    Docket entry 590.       Are you with me here?

        2              MS. FERNANDEZ:     Yes.    That is the document that we

        3   submitted for the Court to view in camera.

        4              THE COURT:    So the sealing it, I could grant that

        5   motion, correct?

        6              MS. FERNANDEZ:     Yes, Your Honor.

        7              THE COURT:    Now, by sealing it -- it's in the record.

        8   It's in the court's record, right?

        9              MS. FERNANDEZ:     Mm-hmm.

      10               THE COURT:    But it's under seal, correct?

      11               MS. FERNANDEZ:     That's correct, Your Honor.

      12               THE COURT:    So I will grant that motion.          Okay?

      13               MS. FERNANDEZ:     Yes.

      14               THE COURT:    But that maintains the status quo

      15    consistent with everything else that I've done; is that

      16    correct?

      17               MS. FERNANDEZ:     Yes, Your Honor.

      18               THE COURT:    I need a minute with my law clerk, please.

      19    Off the record.

      20               [Off the record.]

      21               THE COURT:    Back on the record, please.

      22               Now, I believe that I have addressed everything that I

      23    noticed you for and other things that I am sure Judge Lenard

      24    would not mind me trying to be -- help everybody out, help you

      25    all out by taking care of at this stage.            Okay?

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        1              Now, you all are going to confer with my law clerk or

        2   my deputy concerning these mysterious docket entries that you

        3   say we have, because I don't want you back when you all are

        4   like five years from now, judges are alive or they're retired

        5   on your millions in the Bahamas, I don't want the marshals

        6   coming to you because there's this pending motion here.                You

        7   follow me?

        8              MR. FERNANDEZ:      Yes, sir.

        9              THE COURT:     There's a lot of reasons why I want to

      10    take care of it.

      11               So aside from those which you will address

      12    ministerially with my law clerk or my deputy, is there anything

      13    else that is pending before me?

      14               MR. STIRBA:     I know of none, Judge.

      15               MR. SCHWARTZ:      We concur.     We don't know of anything,

      16    Your Honor.

      17               THE COURT:     Now, you guys -- I only encourage you, you

      18    guys are a delight, you're great lawyers and nothing I'm saying

      19    should be taken as critical of anybody.            I got to tell you,

      20    you're both doing -- you're all doing your job very well for

      21    your clients.     Okay?    So don't misunderstand.         You're excellent

      22    lawyers.

      23               You understand, you're all good lawyers here.              This

      24    case has generated more -- I've done more reading time with

      25    this than the next ten criminal cases combined.              So I'll just

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        1   note that.    But I am complimenting you without encouraging any

        2   stuff.

        3             Now, you're going to go before Judge Lenard on

        4   Tuesday, and it's her case.        So you get the best of all worlds.

        5   I just want to make sure that I've addressed everything that I

        6   can and explained to you in particular why I'm not going to do

        7   an in camera review at this stage.          Okay?    But I'll do whatever

        8   Judge Lenard wants me to do.        But that explains my reasoning.

        9   Fair enough, everybody?

      10              MR. STIRBA:     And, Judge, you're fortunate.          The trial

      11    is March 2nd, so we're running sort of a little bit out of

      12    time.

      13              THE COURT:     I understand that.

      14              MR. STIRBA:     So you should be okay about future

      15    pleadings.

      16              THE COURT:     No, I know.     They never die, trust me.

      17              MR. STIRBA:     But they may not come to you, Judge.

      18    That's my point.

      19              THE COURT:     I've been around so long that I've had

      20    cases, I did initial appearance, I did everything pretrial, I

      21    did everything post-trial and I got to habeas.             That's happened

      22    numerous occasions, including some huge cases that are

      23    notorious cases.     You follow me?      With a public figure must

      24    think I'm out to get him, you know, because this is the wheel

      25    and stuff would come to me, you know.           I didn't want to see him

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        1   any more than he wanted to see me, by way of example.

        2              But I'm delighted to see you all.                     You're welcome to

        3   stay here as long as you would like.                   And counsel from -- you

        4   know, you live in a beautiful state, but it's nice to have to

        5   try a case down here, isn't it?

        6              MR. STIRBA:       Yes.

        7              THE COURT:      Nice to see you all.                Good luck.   Happy

        8   traveling.

        9                      [Court adjourned at 4:05 p.m.]

      10                            C E R T I F I C A T E

      11               I hereby certify that the foregoing is an accurate

      12    transcription of proceedings in the above-entitled matter.

      13

                                         s/Larry Herr

      14    ______________          _______________________________________

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